                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DERRICK M. ALLEN,                   )
                                    )
                  Plaintiff,        )
                                    )
     v.                             )        1:21CV551
                                    )
SHERIFF CLARENCE F. BIRKHEAD,       )
et al.,                             )
                                    )
                  Defendants.       )


DERRICK M. ALLEN, SR.               )
                                    )
                  Plaintiff,        )
                                    )
     v.                             )        1:21CV708
                                    )
STEVE SCHEWEL, et al.,              )
                                    )
                  Defendants.       )


DERRICK ALLEN,                      )
                                    )
                  Plaintiff,        )
                                    )
     v.                             )        1:22CV60
                                    )
AMTRAK, et al.,                     )
                                    )
                  Defendants.       )


DERRICK M. ALLEN, SR.               )
                                    )
                  Plaintiff,        )
                                    )
     v.                             )        1:22CV199
                                    )
SUSAN FRIMPONG, et al.,             )
                                    )
                  Defendants.       )




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DERRICK ALLEN, SR.                  )
                                    )
                 Plaintiff,         )
                                    )
     v.                             )        1:22CV280
                                    )
DR. JUDITH A. FORTNEY, et al.,      )
                                    )
                 Defendants.        )


DERRICK ALLEN,                      )
                                    )
                 Plaintiff,         )
                                    )
     v.                             )        1:22CV750
                                    )
GUILFORD TECHNICAL COMMUNITY        )
COLLEGE, et al.,                    )
                                    )
                 Defendants.        )


DERRICK ALLEN,                      )
                                    )
                 Plaintiff,         )
                                    )
     v.                             )        1:22CV888
                                    )
ORANGE CO. SHERIFF DEPT.,           )
et al.,                             )
                                    )
                 Defendants.        )


DERRICK ALLEN,                      )
                                    )
                 Plaintiff,         )
                                    )
     v.                             )        1:22CV940
                                    )
UNC ADAMS SCHOOL OF DENTISTRY,      )
et al.,                             )
                                    )
                 Defendants.        )


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                                  JUDGMENT

       The Recommendation of the United States Magistrate Judge was

filed with the court in accordance with 28 U.S.C. § 636(b) and, on

January 11, 2023, was served on the parties in this action.               No

objections were filed within the time limits prescribed by section

636.

       The court has reviewed and hereby adopts the Magistrate

Judge’s Recommendation.

       IT IS THEREFORE ORDERED AND ADJUDGED that the above-captioned

actions are DISMISSED without prejudice, pursuant to Federal Rule

of Civil Procedure 41(b).

       IT IS FURTHER ORDERED AND ADJUDGED that the Clerk of Court is

DIRECTED to refuse to accept, for a period of two years, any civil

action submitted by Plaintiff without prepayment of the full filing

fee.




                                        /s/ Thomas D. Schroeder
                                    United States District Judge


February 6, 2023




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